                                       UNITED STATES DISTRICT COURT
                      Case 2:09-cr-00213-WBS DISTRICT
                                      EASTERN  DocumentOF
                                                        17CALIFORNIA
                                                            Filed 06/02/09 Page 1 of 1
UNITED STATES OF AMERICA,                     )                                   Case No. 2:09-cr-0213 WBS
                                              )
                     Plaintiff,               )
               v.                             )
                                              )
Stephanie Nicole PETERSON,                    )
                                              )
                     Defendant.               )
_____________________________________________ )

                               APPLICATION FOR WRIT OF HABEAS CORPUS
        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       (X) Ad Prosequendum                               () Ad Testificandum

Name of Detainee:                Stephanie Nicole PETERSON, X-Ref. No. 2940679
Detained at (custodian):         Sacramento County Main Jail
                                 651 I Street
                                 Sacramento, California 95814

Detainee is:               a.)   (X) charged in this district by: (X) Indictment () Information () Complaint
                                    charging detainee with: sex trafficking of a minor.
                 or        b.)   () a witness not otherwise available by ordinary process of the Court

Detainee will:             a.)   () return to the custody of detaining facility upon termination of proceedings
                 or        b.)   (X) be retained in federal custody until final disposition of federal charges.

        Appearance is necessary in the Eastern District of California to face prosecution on a sex trafficking indictment
in Case No. 2:09-cr-0213 WBS.

                                 Signature:                      /s/ Jason Hitt
                                 Printed Name & Phone No:        Jason Hitt 916-554-2751
                                 Attorney of Record for:         United States of America

                                             WRIT OF HABEAS CORPUS
                           (X) Ad Prosequendum                 () Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal’s Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

Date: June 1, 2009




_______________________________________________________________________________________________
Detainee:                 Stephanie Nicole PETERSON, X-Ref. No. 2940679          Male   X Female
Detained at (custodian):  Sacramento County Main Jail
Facility Address:         651 I Street
                          Sacramento, California 95814
Facility Phone:           (916) 874-6752
_________________________________________________________________________________________________
                                                  RETURN OF SERVICE

Executed on      ____________________________                    By: ___________________________________________________
